Case 2:05-cv-02165-.]DB-dkv Document 15 Filed 07/12/05 Page 1 of 3 Page|D 29

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INc. , d/b/a YALE. mTERIALs
HANDL:NG coRPoRATIoN AND

NMHG oREGoN, INc. ,

Plaintiffs,
No. 05-2165 Ml/V

v.

THE LILLY COMPANY AND MID SOUTH
LIFT TRUCKS,

Defendants.

 

ORDER OF TRANSFER

 

The above~styled case is hereby transferred to Judge J.
Daniel Breen for potential consolidation with Nacco Materials
Handlinq Group, Inc. d/b/a Yale Materials Handlino Corporation v.
Tovota Materials Handlino USA Inc.. and the Lillv Comoanv, No.

2:O3CV2561.

So ORDERED this 255/gay of July, 2005.

QWGIQQ

JON . MCCALLA
UN ED STATES DISTRICT JUDGE

Thfs document entered on the docket sheet In compliance
with Hu!e 58 and/or ?S(a) FFICP on '

 

 

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eSSEE

 

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Honorable J. Breen
US DISTRICT COURT

